Case 3:12-cr-00444-JLS    Document 45   Filed 07/05/12    PageID.83        Page 1 of 1



 1                                                                    FI LED
 2

 3
                                                                        J~L 05:~~
                                                                  CLERK, U.S. OISTI'IiCT COURT
                                                               SOUTHE      STRICT Of CALIFORNIA
 4                           UNITED STATES DISTRICT                                    DEPUTY

 5                          SOUTHERN DISTRICT OF CALIFORNIA

 6

 7     UNITED STATES OF AMERICA,                 Criminal Case No. 12cr0444-JLS

 8                       Plaintiff,
                                                 ORDER
 9         v.

10     MARLENE TOLEDO (1),
       JUANA ELBA CORIA (2),
11
                         Defendants.
12

13
            IT IS HEREBY ORDERED that the motion hearing in this matter be
14
       continued from July 20, 2012, at 1:30 p.m., until August 10, 2012,
15
       at 1:30 p.m.      Time is excluded under the Speedy Trial Act as valid
16
       substanti ve motions      have been    filed      and     remain     pending.         The
17
       parties have noted that the Defendants remain in custody.
18

19

20

21

22

23

24
25

26
27

28
